
612 N.W.2d 277 (2000)
2000 ND 125
In the Matter of DISCIPLINARY ACTION AGAINST Sylvian Ross ROYBAL, a member of the Bar of the State of North Dakota.
Disciplinary Board of the Supreme Court of the State of North Dakota, Petitioner,
v.
Sylvian Ross Roybal, Respondent.
No. 20000085.
Supreme Court of North Dakota.
June 19, 2000.
DISBARMENT ORDERED.
PER CURIAM.
[¶ 1] Sylvian Ross Roybal was disbarred in the state of Colorado on December 17, 1997. Under Rule 4.4, N.D.R. Lawyer Discipl., governing reciprocal discipline, a certified copy of the disbarment was filed with the Disciplinary Board of the Supreme Court on January 13, 1998. Notice and Order pursuant to Rule 4.4(B), N.D.R. Lawyer Discipl., was filed January 20, 1998. Service of the Notice and Order by publication was complete on March 31, 1999. Mr. Roybal did not respond.
[¶ 2] This matter was referred to a Hearing Body of the Disciplinary Board and on September 22, 1999, the Hearing Body filed its Report recommending the disbarment of Mr. Roybal, the identical discipline as that imposed in Colorado. On November 12, 1999, the Hearing Body Report was served on Mr. Roybal by mail at his last known address. Mr. Roybal's mail was returned, unopened, and marked "ATTEMPTED NOT KNOWN."
[¶ 3] The Disciplinary Board considered the matter at its regularly scheduled meeting on March 20, 2000, and filed its Report on March 27, 2000, adopting the Report of the Hearing Body. The Report of the Disciplinary Board was served on Mr. Roybal by mail at his last known address. Again, Mr. Roybal's mail was returned, unopened, and marked "ATTEMPTED NOT KNOWN."
[¶ 4] The Report of the Disciplinary Board is submitted to the Court under Rule 4.4(D), N.D.R. Lawyer Discipl. No briefs have been filed in this matter. The Court considered the matter, and
[¶ 5] ORDERED, the Report of the Disciplinary Board is ADOPTED.
[¶ 6] IT IS FURTHER ORDERED, Mr. Roybal receive the identical discipline as imposed by the state of Colorado, disbarment, effective immediately.
[¶ 7] Dated at Bismarck, North Dakota, this June 7, 2000.
[¶ 8] GERALD W. VANDE WALLE, C.J., WILLIAM A. NEUMANN, DALE V. SANDSTROM, MARY MUEHLEN MARING, CAROL RONNING KAPSNER, JJ., concur.
